     Case 2:20-cv-00371-DSF-AS Document 11 Filed 02/19/20 Page 1 of 15 Page ID #:56




 1 ELIZABETH B. FORSYTH (CA Bar No. 288311)
   eforsyth@earthjustice.org
 2 Earthjustice
 3 707 Wilshire Street, Suite 4300
   Los Angeles, CA 90017
 4 Tel: (213) 766-1067 / Fax: (415) 217-2040
 5 MICHELLE GHAFAR (CA Bar No. 315842)
   mghafar@earthjustice.org
 6 Earthjustice
 7 50 California Street, Suite 500
   San Francisco, CA 94111
 8 Tel: (415) 217-2000 / Fax: (415) 217-2040
 9 Counsel for National Parks Conservation
10 Association, Natural Resources Defense Council,
   and The Wilderness Society
11
   (List of Counsel continued on next page)
12
13                       UNITED STATES DISTRICT COURT
14                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
                               WESTERN DIVISION
15
16
17    CENTER FOR BIOLOGICAL                   )   Civ. No. 2:20-cv-00371 DSF (SSx)
      DIVERSITY, et al.,                      )
18                                            )   PROOF OF SERVICE
                  Plaintiffs,                 )
19                                            )
20          v.                                )
                                              )
21    U.S. BUREAU OF LAND                     )
      MANAGEMENT, et al.,                     )
22                                            )
                  Defendants.                 )
23                                            )
24
25
26
27
28

                                            1
                     PROOF OF SERVICE – Case No. 2:20-cv-00371 DSF (SSx)
     Case 2:20-cv-00371-DSF-AS Document 11 Filed 02/19/20 Page 2 of 15 Page ID #:57




 1 BRENDAN CUMMINGS (CA Bar No. 193952)
   bcummings@biologicaldiversity.org
 2 CLARE LAKEWOOD (CA Bar No. 298479)
 3 clakewood@biologicaldiversity.org
   Center for Biological Diversity
 4 1212 Broadway, Suite 800
   Oakland, CA 94612
 5 Tel: (510) 844-7121 / Fax: (510) 844-7150
 6 Counsel for Center for Biological Diversity, Central
 7 California Environmental Justice Network, Los
   Padres ForestWatch, Patagonia Works, and Sierra
 8 Club
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                            2
                     PROOF OF SERVICE – Case No. 2:20-cv-00371 DSF (SSx)
     Case 2:20-cv-00371-DSF-AS Document 11 Filed 02/19/20 Page 3 of 15 Page ID #:58




 1                                   PROOF OF SERVICE
 2          I am a citizen of the United States of America and a resident of the County of
 3 Alameda; I am over the age of 18 years and not a party to the within entitled action;
 4 my business address is 50 California Street, Suite 500, San Francisco, California.
 5          I hereby certify that on January 23, 2020, I served by U.S. Certified Mail in
 6 accordance with F.R.Civ.P. 4(i) et seq. one true copy of the following documents:
 7                Summons in a Civil Action;
 8                Complaint for Declaratory and Injunctive Relief;
 9                Notice of Interested Parties; Corporate Disclosure Statement;
10                Notice of Related Cases;
11                Notice of Assignment to United States Judges;
12
                  Notice to Parties of Court-Directed ADR Program; and
13
                  Standing Order for Cases Assigned to Judge Dale S. Fischer
14
      on the parties listed below:
15
          U.S. Bureau of Land Management             William Barr
16        1849 C Street, N.W., Room 5665             Attorney General of the United States
          Washington, DC 20240                       U.S. Department of Justice
17                                                   950 Pennsylvania Avenue, NW
18        David Bernhardt                            Washington, DC 20530-0001
          Secretary of the Interior
19        U.S. Department of the Interior            Nicola T. Hanna
          1849 C Street, N.W.                        United States Attorney
20        Washington, DC 20240                       Central District of California
21                                                   312 North Spring Street, Suite 1200
          Karen Mouritsen, California Director       Los Angeles, CA 90012
22        California State Office
          U.S. Bureau of Land Management
23        2800 Cottage Way, Suite W1623
          Sacramento, CA 95825
24
25
            Additionally, on January 23, 2020, I sent the above-named documents by U.S.
26
      Certified Mail to the Civil Process Clerk, Office of the United States Attorney, Room
27
28

                                              3
                       PROOF OF SERVICE – Case No. 2:20-cv-00371 DSF (SSx)
     Case 2:20-cv-00371-DSF-AS Document 11 Filed 02/19/20 Page 4 of 15 Page ID #:59




 1 7516, Federal Building, 300 North Los Angeles Street, Los Angeles, California
 2 90012. Copies of the Certified Mail receipts and delivery confirmations are attached.
 3         I also hereby certify that on January 29, 2020, I served the above-named parties
 4 by U.S. First Class Mail one true copy of the following document:
 5              Order re Transfer Pursuant to General Order 19-03 (Related Cases)
 6               [Doc. 10]

 7         I certify under penalty of perjury that the foregoing is true and correct.
 8
 9         Executed on February 19, 2020 in San Francisco, California.
10
11
12                                          Rikki Weber
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                             4
                      PROOF OF SERVICE – Case No. 2:20-cv-00371 DSF (SSx)
Case 2:20-cv-00371-DSF-AS Document 11 Filed 02/19/20 Page 5 of 15 Page ID #:60
Case 2:20-cv-00371-DSF-AS Document 11 Filed 02/19/20 Page 6 of 15 Page ID #:61
Case 2:20-cv-00371-DSF-AS Document 11 Filed 02/19/20 Page 7 of 15 Page ID #:62
Case 2:20-cv-00371-DSF-AS Document 11 Filed 02/19/20 Page 8 of 15 Page ID #:63
Case 2:20-cv-00371-DSF-AS Document 11 Filed 02/19/20 Page 9 of 15 Page ID #:64
Case 2:20-cv-00371-DSF-AS Document 11 Filed 02/19/20 Page 10 of 15 Page ID #:65
Case 2:20-cv-00371-DSF-AS Document 11 Filed 02/19/20 Page 11 of 15 Page ID #:66
2/3/2020   Case 2:20-cv-00371-DSF-AS Document 11 Filed
                                          USPS.com® - USPS02/19/20      Page 12 of 15 Page ID #:67
                                                           Tracking® Results




   USPS Tracking
                                           ®                                                                    FAQs   




                                                 Track Another Package                  +




                                                                                                              Remove   
   Tracking Number: 70130600000149989775

   Your item was delivered to an individual at the address at 7:53 am on February 3, 2020 in
   WASHINGTON, DC 20240.




     Delivered




                                                                                                                       Feedback
   February 3, 2020 at 7:53 am
   Delivered, Left with Individual
   WASHINGTON, DC 20240

   Get Updates        




                                                                                                                 
       Text & Email Updates


                                                                                                                 
       Tracking History


                                                                                                                 
       Product Information



           Postal Product:                                             Features:
                                                                       Certified Mail™




                                                              See Less      




https://tools.usps.com/go/TrackConfirmAction?tRef=fullpage&tLc=2&text28777=&tLabels=70130600000149989775%2C                  1/2
Case 2:20-cv-00371-DSF-AS Document 11 Filed 02/19/20 Page 13 of 15 Page ID #:68
Case 2:20-cv-00371-DSF-AS Document 11 Filed 02/19/20 Page 14 of 15 Page ID #:69
2/3/2020   Case 2:20-cv-00371-DSF-AS Document 11 Filed
                                          USPS.com® - USPS02/19/20      Page 15 of 15 Page ID #:70
                                                           Tracking® Results




   USPS Tracking
                                           ®                                                                    FAQs   




                                                 Track Another Package                  +




                                                                                                              Remove   
   Tracking Number: 70130600000149989751

   Your item was delivered to an individual at the address at 12:22 pm on January 30, 2020 in
   WASHINGTON, DC 20240.




     Delivered




                                                                                                                       Feedback
   January 30, 2020 at 12:22 pm
   Delivered, Left with Individual
   WASHINGTON, DC 20240

   Get Updates        




                                                                                                                 
       Text & Email Updates


                                                                                                                 
       Tracking History


                                                                                                                 
       Product Information



           Postal Product:                                             Features:
                                                                       Certified Mail™




                                                              See Less      




https://tools.usps.com/go/TrackConfirmAction?tRef=fullpage&tLc=2&text28777=&tLabels=70130600000149989751%2C                  1/2
